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                                                                                             2022 Oct-07 PM 02:23
                                                                                             U.S. DISTRICT COURT
                                                                                                 N.D. OF ALABAMA


                    IN IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT COURT OF ALABAMA
                               SOUTHERN DIVISION

DEMARCUS RODGERS, on behalf of                       )
himself and all others similarly situated,           )
                                                     )
       Plaintiff,                                    )
                                                     )
v.                                                   )      Civil Action 2:22-cv-00504-AMM
                                                     )
KRAFT HEINZ FOODS COMPANY,                           )
                                                     )
                                                     )
       Defendant.                                    )
                                                    )

                JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       COME NOW the parties to this action, Plaintiff, DeMarcus Rodgers, on behalf of himself

and all others similarly situated, and Defendant, Kraft Heinz Foods Company, pursuant to ALA. R.

CIV. P. 41(a)(1), and jointly file this Stipulation of Dismissal dismissing this action against

Defendant Kraft Heinz Foods Company with prejudice against the refiling of Plaintiff’s individual

action and any individual claims, counterclaims, and cross claims which he could have filed in the

present action. This dismissal is without prejudice to the claims and any potential claims of the

putative class. Costs taxed as paid.

       Respectfully submitted, this the 7th day of October, 2022.

                                                    /s/ Lloyd W. Gathings
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                                          /s/ Dean N. Panos
                                          Dean N. Panos

                                          /s/ Sara A. Ford
                                          Sara A. Ford

                                          /s/ Samuel H. Franklin
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